~ Case 2:19}cv-04618-RGK-JPR Document 193 Filed 06/23/21 Page 1o0f4 Page ID #:10788

 

 

 

 

 

 

 

 

 

 

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2 CLERK, US DISTRICT COURT
3 JUN 23 2021
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9 UNITED STATES DISTRICT COURT
10 CENTRAL DISTRICT OF CALIFORNIA
11|| Y.Y.G.M. SA d.b.a. BRANDY Case No. 2:19-cv-04618-RGK (JPRx)
MELVILLE, a Swiss corporation, Hon. R. Gary Klausner
ne Plaintiff,
13 VERDICT FORM
14 VS. REDACTED
REDBUBBLE, INC., a Delaware
15 || corporation, Trial Date: June 15, 2021
16 Defendant.
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1834819 Case No. 2:19-cv-04618-RGK (JPRx)

 

 

 

 
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' Case 2:19cv-04618-RGK-JPR Document 193 Filed 06/23/21 Page 2of4 Page ID #:10789

We, the jury in the above-entitled case, find the following on the questions

submitted to us:

Did Defendant Redbubble contributorily counterfeit the Brandy Melville Heart

Mark?
Yes VY No

If you answered “yes,” then please answer the next two sub-questions. If you

answered “no,” then please skip ahead to Question 2.

a. Was Defendant Redbubble’s contributory counterfeiting willful?
Yes No
b. What is the total amount of statutory damages you award to Plaintiff
Brandy Melville for Defendant Redbubble contributorily counterfeiting

the Brandy Melville Heart Mark?
$ 200,000.22

 

Did Defendant Redbubble contributorily counterfeit the Brandy Melville LA

Lightning Mark?
Yes J No

If you answered “yes,” then please answer the next two sub-questions. If you

answered “no,” then please skip ahead and answer Questions 3 through 7.

a. Was Defendant Redbubble’s contributory counterfeiting willful?
Yes _ ¥ No

Case No. 2:19-cv-04618-RGK (JPRx)

 

 

 

 
~ Case 2:19}cv-04618-RGK-JPR Document 193 Filed 06/23/21 Page 30f 4 Page ID #:10790

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b. | What is the total amount of statutory damages you award to Plaintiff
Brandy Melville for Defendant Redbubble contributorily counterfeiting
the Brandy Melville LA Lightning Mark?

$200,000:

 

Regardless of how you answered Questions I and 2, please answer Questions 3, 4, 5,

and 6.

3 Did Defendant Redbubble contributorily infringe the Brandy Melville Heart

Mark?
Yes / No

4. Did Defendant Redbubble contributorily infringe the Brandy Melville Flags

Mark?
Yes No of

Di Did Defendant Redbubble contributorily infringe the Brandy Melville LA

Lightning Mark?
Yes J No

6. Did Defendant Redbubble contributorily infringe any of Brandy Melville’s
unregistered trademarks in the “Brandy Melville” name or other unregistered
variations of the Brandy Melville name, including “Brandy LA,”

“brandymelvilleusa,” and “brandymelvilleusa.com”?

Yes J No

Case No. 2:19-cv-04618-RGK (JPRx)

 

 
Case 2:19$+cv-04618-RGK-JPR Document 193 Filed 06/23/21 Page 4of4 Page ID #:10791

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If you answered “yes” to Question 3, 4, 5, or 6, then please answer Question 7.

If you answered “no” to Questions 3, 4, 5, and 6, then please skip Question 7.

oe What is the total amount of Defendant Redbubble’s profit attributable to

Redbubble’s contributory trademark infringement ?
oU

¢ 26,000 -—

 

Please date, sign, and return this form.

FOREPERSON SIGNATURE
June 23 » 2021 REDACTED BY THE
COURT

Dated:

 

Case No. 2:19-cv-04618-RGK (JPRx)

 
